           Case 6:22-bk-12949-RB Doc 11 Filed 08/07/22                                            Entered 08/07/22 21:13:28                       Desc
                               Imaged Certificate of Notice                                       Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                Case No. 22-12949-RB
Gilbert Luis Preciado                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                   User: admin                                                               Page 1 of 2
Date Rcvd: Aug 05, 2022                                                Form ID: 309A                                                           Total Noticed: 36
The following symbols are used throughout this certificate:
Symbol          Definition
^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 07, 2022:
Recip ID                  Recipient Name and Address
db                        Gilbert Luis Preciado, 13729 Burning Tree Dr, Victorville, CA 92395-4806
41253637                  American Medical Response, 2316 S Susan St, Santa Ana, CA 92704-4421
41253646                  DSNB / Macys, Po Box 6776, Sioux Falls, SD 57117-6776
41253648                  First Bank & Trust, 2400 Michelson Dr, Irvine, CA 92612-1310
41253649                  Goldman Sachs / Apple Card, Lockbox 6112, Po Box 7247, Philadelphia, PA 19170-0001
41253653                  Nationwide Credit, PO Box 15130 19850, Irwin, PA 15642-8113
41253656                  Pomona Valley Hospital Medical Center, 1798 N Garey Ave, Pomona, CA 91767-2918
41253658                  Prosperity Realty, 15431 Anacapa Rd, Victorville, CA 92392-2458
41253660                  Synchrony / American Tire, Po Box 960061, Orlando, FL 32896-0061
41253665                  Victor Valley Global Medical Center, Po Box 846938, Los Angeles, CA 90084-6938

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: bheston.ecf@gmail.com
                                                                                        Aug 06 2022 00:12:00      Benjamin Heston, 100 Bayview Circle, Suite 100,
                                                                                                                  Newport Beach, CA 92660
tr                        Email/Text: arturo.cisneros@txitrustee.com
                                                                                        Aug 06 2022 00:12:00      Arturo Cisneros (TR), 3403 Tenth Street, Suite
                                                                                                                  714, Riverside, CA 92501
smg                       EDI: EDD.COM
                                                                                        Aug 06 2022 04:13:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                       EDI: CALTAX.COM
                                                                                        Aug 06 2022 04:13:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
41253636                  Email/Text: backoffice@affirm.com
                                                                                        Aug 06 2022 00:13:00      Affirm, 650 California St Fl 12, San Francisco, CA
                                                                                                                  94108-2716
41253638                  EDI: TSYS2
                                                                                        Aug 06 2022 04:13:00      Barclays Bank Delaware, Po Box 8801,
                                                                                                                  Wilmington, DE 19899-8801
41253639                  EDI: CALTAXFEE
                                                                                        Aug 06 2022 04:13:00      California Dept of Tax and Fee Admin, Po Box
                                                                                                                  942879, Sacramento, CA 94279-0001
41253640                  EDI: CAPITALONE.COM
                                                                                        Aug 06 2022 04:13:00      Capital One, Po Box 30285, Salt Lake Cty, UT
                                                                                                                  84130-0285
41253641                  EDI: CAPITALONE.COM
                                                                                        Aug 06 2022 04:13:00      Capital One / Walmart, Po Box 30285, Salt Lake
                                                                                                                  Cty, UT 84130-0285
41253643                  EDI: CITICORP.COM
                                                                                        Aug 06 2022 04:13:00      Citibank, Po Box 6500, Sioux Falls, SD
                                                                                                                  57117-6500
41253644               ^ MEBN
                                                                                        Aug 06 2022 00:09:22      Credit Control, 3300 Rider Trl S Ste 500, Earth
                                                                                                                  City, MO 63045-1338
41253645                  Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Aug 06 2022 00:20:55      Credit One Bank, Po Box 98873, Las Vegas, NV
                                                                                                                  89193-8873
41253647               ^ MEBN
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District/off: 0973-6                                              User: admin                                                             Page 2 of 2
Date Rcvd: Aug 05, 2022                                           Form ID: 309A                                                         Total Noticed: 36
                                                                                   Aug 06 2022 00:08:59     DSRM National Bank / Valero, Po Box 631,
                                                                                                            Amarillo, TX 79105-0631
41253650                 EDI: JEFFERSONCAP.COM
                                                                                   Aug 06 2022 04:13:00     Jefferson Capital Systems, 16 Mcleland Rd, Saint
                                                                                                            Cloud, MN 56303-2198
41253642                 EDI: JPMORGANCHASE
                                                                                   Aug 06 2022 04:13:00     Chase Bank, Po Box 6294, Carol Stream, IL
                                                                                                            60197-6294
41253651                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Aug 06 2022 00:20:54     Merrick Bank, Po Box 9201, Old Bethpage, NY
                                                                                                            11804-9001
41253652                 Email/Text: bankruptcydpt@mcmcg.com
                                                                                   Aug 06 2022 00:13:00     Midland Credit Management, Po Box 939069, San
                                                                                                            Diego, CA 92193-9069
41253654                 EDI: AGFINANCE.COM
                                                                                   Aug 06 2022 04:13:00     OneMain Financial, 601 Nw 2nd St, Evansville,
                                                                                                            IN 47708-1013
41253655                 Email/Text: pcabkt@phillips-cohen.com
                                                                                   Aug 06 2022 00:13:00     Phillips & Cohen Associates, 1002 Justison St,
                                                                                                            Wilmington, DE 19801-5148
41253657                 EDI: PMSCOLLECTS.COM
                                                                                   Aug 06 2022 04:13:00     Progressive Management Systems, 1521 W
                                                                                                            Cameron Ave Fl 1, West Covina, CA 91790-2738
41253659                 EDI: RMSC.COM
                                                                                   Aug 06 2022 04:13:00     Synchrony / Amazon, Po Box 960013, Orlando,
                                                                                                            FL 32896-0013
41253661                 EDI: RMSC.COM
                                                                                   Aug 06 2022 04:13:00     Synchrony / Home Shopping Network, Po Box
                                                                                                            530905, Atlanta, GA 30353-0905
41253662                 EDI: RMSC.COM
                                                                                   Aug 06 2022 04:13:00     Synchrony / JC Penny, Po Box 965009, Orlando,
                                                                                                            FL 32896-5009
41253663                 EDI: RMSC.COM
                                                                                   Aug 06 2022 04:13:00     Synchrony / PayPal Credit, Po Box 965003,
                                                                                                            Orlando, FL 32896-5003
41253664                 EDI: RMSC.COM
                                                                                   Aug 06 2022 04:13:00     Synchrony / Pep Boys, Po Box 960061, Orlando,
                                                                                                            FL 32896-0061
41253666                 EDI: WFCCSBK
                                                                                   Aug 06 2022 04:13:00     Wells Fargo Card Services, Po Box 51193, Los
                                                                                                            Angeles, CA 90051-5493

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 07, 2022                                        Signature:           /s/Gustava Winters
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Information to identify the case:
Debtor 1              Gilbert Luis Preciado                                             Social Security number or ITIN        xxx−xx−7924
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California
                                                                                        Date case filed for chapter 7 8/5/22
Case number: 6:22−bk−12949−RB


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Gilbert Luis Preciado

2.      All other names used in the
        last 8 years

3.     Address                               13729 Burning Tree Dr
                                             Victorville, CA 92395−4806

4.     Debtor's attorney                     Benjamin Heston                                        Contact phone 951−290−2827
                                             100 Bayview Circle, Suite 100                          Email ____________________
       Name and address                      Newport Beach, CA 92660

5.     Bankruptcy trustee                    Arturo Cisneros (TR)                                   Contact phone (951) 328−3124
                                             3403 Tenth Street, Suite 714                           Email ____________________
       Name and address                      Riverside, CA 92501
                                                                                                                                               5/
                                                                                                        For more information, see pages 2 and 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Gilbert Luis Preciado                                                                                         Case number 6:22−bk−12949−RB


6. Bankruptcy clerk's office                      3420 Twelfth Street,                                             Hours Open: 9:00 AM − 4:00 PM
                                                  Riverside, CA 92501−3819
    Documents in this case may be filed at this                                                                    Contact phone 855−460−9641
    address. You may inspect all records filed
    in this case at this office or online at
    https://pacer.uscourts.gov.                                                                                    Dated: 8/5/22


7. Meeting of creditors                           September 8, 2022 at 09:00 AM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date.       TELEPHONIC MEETING, FOR
    questioned under oath by the trustee and      If so, the date will be on the court docket.                     INSTRUCTIONS, CONTACT THE
    by creditors. In a joint case, both spouses
    must attend. Creditors may attend, but are                                                                     TRUSTEE
                                                  The trustee is designated to preside at the meeting of
    not required to do so.                        creditors. The case is covered by the chapter 7 blanket
                                                  bond on file with the court.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 11/7/22
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                                  authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                                  must receive the objection by the deadline to object to exemptions in line 9.
                                                                                                        For more information, see pages 1 and 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Gilbert Luis Preciado                                                                                     Case number 6:22−bk−12949−RB

 13. Proof of Debtor                 The U.S. Trustee requires that individual debtors must provide to the trustee at the meeting of creditors an
     Identification (ID) and         original picture ID and proof of SSN. Failure to do so may result in the U.S. Trustee bringing a motion to dismiss
                                     the case. Permissible forms of ID include a valid state driver's license, government or state−issued picture ID,
     Proof of Social Security        student ID, military ID, U.S. Passport or legal resident alien card. Proof of SSN includes Social Security Card,
     Number(SSN)                     current W−2 form, pay stub, payment advice, IRS Form 1099, Social Security Administration Report, or other
                                     official document which indicates name and SSN.

 14. Failure to File a               IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
     Statement and/or                DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition filing
                                     date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of creditors
     Schedule(s)                     and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If the debtor's
                                     case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING WITHIN 45
                                     DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section 521(i)(4), the court
                                     WILL dismiss the case effective on the 46th day after the petition date without further notice: (1) file all
                                     documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for an order extending
                                     the time to file the documents required by this section.

                                     SI EL DEUDOR NO HA PRESENTADO UNA DECLARACIÓN Y/O LISTA(S) DE ACREEDORES Y/U OTROS
                                     DOCUMENTOS REQUERIDOS, tendrá que hacerlo dentro de un plazo de 14 días a partir de la fecha de
                                     presentación de la petición o tendrá que obtener una extensión del plazo para hacerlo. Si no cumple usted este
                                     requisito, o si no comparece a la junta 341(a) inicial de acreedores o a cualquier aplazamiento, esto resultará en
                                     que se declare sin lugar el caso, a menos de que obtenga un permiso del tribunal. Si no se ha declarado sin
                                     lugar el caso del acreedor, Y EL ACREEDOR NO HACE UNA DE LAS SIGUIENTES COSAS DENTRO DE UN
                                     PLAZO DE 45 DÍAS A PARTIR DE LA FECHA DE LA PETICIÓN, de acuerdo con lo dispuesto en la sección
                                     521(i)(4) del Código de Quiebras, el juez DECLARARÁ el caso sin lugar a partir de el 46o día después de la
                                     fecha de presentación de petición sin más notificación: (1) registrar en actas todos los documentos que requiere
                                     la sección 521(a)(1) del Código de Quiebras; o (2) registrar y hacer entrega formal de una moción para pedir
                                     una orden que extienda el tiempo en que se pueden registrar en actas los documentos que requiere dicha
                                     sección.

 15. Bankruptcy Fraud and            Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud Complaint
     Abuse                           Coordinator, Office of the United States Trustee, 3801 University Avenue Suite 720, Riverside, CA 92501−3200.




                                                                                                        For more information, see pages 1 and 2 >
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